      Case 4:19-cv-03385 Document 29 Filed on 11/01/19 in TXSD Page 1 of 6



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

Lantern Maritime Company,                      §
                                               §
       Plaintiff,                              §
                                               §      CIVIL ACTION: 4:19-cv-3385
vs.                                            §
                                               §      IN ADMIRALTY, Rule 9(h)
Chembulk Trading II, LLC, et al.,              §
                                               §
       Defendant and Garnishees.               §

                    ANSWER TO WRIT OF MARITIME GARNISHMENT

       NOW INTO COURT, through undersigned counsel, comes Archer Daniels Midland

Company (“ADM”) who provides the following Answer to Lantern Maritime Company’s

(“Lantern”) Writ of Maritime Garnishment:

                                               I.

                     Objection to Scope of Garnishment Interrogatories

       The Writ of Garnishment and Attachment is limited to property of Chembulk Ocean held

by ADM within the Southern District of Texas. Thus, the scope of the Garnishment Interrogatories

propounded by Lantern is overly broad and disproportionate to the needs of this case.

                                               II.

                          Answers to Garnishment Interrogatories

       Subject to and without waiver of the forgoing objection, ADM provides the following

responses to Lantern’s Garnishment Interrogatories:

INTERROGATORY NO. 1:

       Identify any relationship that ADM has, or has had, with Chembulk Ocean Transport, LLC

(“Chembulk Ocean”).
     Case 4:19-cv-03385 Document 29 Filed on 11/01/19 in TXSD Page 2 of 6



ANSWER TO INTERROGATORY NO. 1:

         No direct relationship. ADM International Sarl is a foreign, indirectly owned subsidiary of

ADM which has, through a broker, contracted with Chembulk Ocean to charter vessels.

INTERROGATORY NO. 2:

         Identify all accounts, amounts or anything of value payable to, or on behalf of, Chembulk

Ocean.

ANSWER TO INTERROGATORY NO. 2:

         ADM objects to this request as overly broad and disproportionate to the needs of this case.

Subject thereto, no accounts, amounts or anything of value payable by ADM to, or on behalf of,

Chembulk Ocean are located within the Southern District of Texas.

INTERROGATORY NO. 3:

         Identify any charter party which you, your affiliates and /or subsidiaries or agents have, or

have had, involving Chembulk Ocean, its agents, affiliates or subsidiaries.

ANSWER TO INTERROGATORY NO. 3:

         ADM objects to this request as irrelevant and disproportionate to the needs of this case,

and because the burden and expense of this proposed discovery outweighs its likely benefit.

Furthermore, ADM does not have knowledge of Chembulk Ocean’s agents, affiliates, or

subsidiaries, and this interrogatory is more properly addressed to Chembulk Ocean. Subject

thereto, in September 2019 ADM International SARL contracted with Chembulk Ocean for the

charter of the Chembulk Barcelona for a voyage to Sewaren, NJ, and the Chembulk Virgin Gorda

for a voyage to New Orleans, LA.




                                                 -2-
      Case 4:19-cv-03385 Document 29 Filed on 11/01/19 in TXSD Page 3 of 6



INTERROGATORY NO. 4:

       State whether anyone associated with ADM has notified Chembulk Ocean of the litigation

from which this garnishment action stemmed and, if so, identify the individual(s) making the

notification and the individual(s) notified.

ANSWER TO INTERROGATORY NO. 4:

       Because of the large number of ADM employees, ADM objects to this request as irrelevant

and disproportionate to the needs of this case, and because the burden and expense of this proposed

discovery outweighs its likely benefit. Subject thereto, it is unknown if an employee of ADM has

notified Chembulk Ocean of this litigation.

INTERROGATORY NO. 5:

       For each parent, subsidiary, and/or related corporation of ADM, identify all individuals at

each such parent, subsidiary, and/or related corporation with whom or which Chembulk Ocean has

communicated including, but not limited to, each contact's name, job title, telephone number, cell

phone number, fax number, mailing address, and e-mail address.

ANSWER TO INTERROGATORY NO. 5:

       Because of the large number of ADM employees, ADM objects to this request as irrelevant

and disproportionate to the needs of this case, and because the burden and expense of this proposed

discovery outweighs its likely benefit. Subject thereto, it is unknown if an employee of ADM has

communicated with Chembulk Ocean.

INTERROGATORY NO. 6:

       Identify all contacts you have, whether directly or through any agent or attorney, at

Chembulk Ocean, including, but not limited to, each contact's name, job title, telephone number,

cell phone number, fax number, mailing address, and e-mail address.




                                               -3-
     Case 4:19-cv-03385 Document 29 Filed on 11/01/19 in TXSD Page 4 of 6



ANSWER TO INTERROGATORY NO. 6:

       ADM objects to this request as irrelevant and disproportionate to the needs of this case,

and because the burden and expense of this proposed discovery outweighs its likely benefit.

Subject thereto, ADM does not have any contacts with Chembulk Ocean.

INTERROGATORY NO. 7:

       Describe in detail all property, tangible or intangible, of or which could be or is claimed by

Chembulk Ocean which you hold, control, or over which you otherwise have custody.

ANSWER TO INTERROGATORY NO. 7:

       ADM objects to this request as irrelevant and disproportionate to the needs of this case,

and because the burden and expense of this proposed discovery outweighs its likely benefit.

Subject thereto, ADM does not hold, control, or otherwise have custody over any property of

Chembulk Ocean and located within the Southern District of Texas.

INTERROGATORY NO. 8:

       Identify any agreements, including but not limited to contracts, between you and Chembulk

Ocean and/or any of Chembulk Ocean's subsidiaries between January 1, 2019 and the present.

ANSWER TO INTERROGATORY NO. 8:

       ADM objects to this request because it does not have knowledge of any of Chembulk

Ocean’s subsidiaries and this interrogatory is best addressed to Chembulk Ocean. Subject thereto,

ADM does not have any contracts with Chembulk Ocean from January 1, 2019 to present.

INTERROGATORY NO. 9:

       Identify any invoices issued to you by Chembulk Ocean and/or any of Chembulk Ocean's

agents or subsidiaries between January 1, 2019 and the present.




                                               -4-
     Case 4:19-cv-03385 Document 29 Filed on 11/01/19 in TXSD Page 5 of 6



ANSWER TO INTERROGATORY NO. 9:

       ADM objects to this request because it does not have knowledge of any of Chembulk

Ocean’s subsidiaries or agents, and this interrogatory is best addressed to Chembulk Ocean.

Subject thereto, ADM does not have any invoices issued to it by Chembulk Ocean between January

1, 2019 and the present.

INTERROGATORY NO. 10:

       Identify any communications between you and Chembulk Ocean and/or any of Chembulk

Ocean's subsidiaries or affiliates between January 1, 2019 and the present.

ANSWER TO INTERROGATORY NO. 10:

       ADM objects to this request as irrelevant and disproportionate to the needs of this case,

and because the burden and expense of this proposed discovery outweighs its likely benefit.

Furthermore, ADM does not have knowledge of Chembulk Ocean’s affiliates or subsidiaries, and

this interrogatory is more properly addressed to Chembulk Ocean. Subject thereto, ADM did not

have any communications with Chembulk Ocean between January 1, 2019 and the present.

       WHEREFORE Archer Daniels Midland Company prays that the Garnishment

Interrogatories be deemed satisfied and that the Amended Writ of Maritime Garnishment and

Attachment be dismissed as to Archer Daniels Midland Company.




                                               -5-
     Case 4:19-cv-03385 Document 29 Filed on 11/01/19 in TXSD Page 6 of 6




                                                    Respectfully submitted,

                                                    SALLEY, HITE, MERCER & RESOR, LLC

                                                    /s/ Marcelle P. Mouledoux
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                                                    Attorneys for Garnishee,
                                                    Archer Daniels Midland Company

                                CERTIFICATE OF SERVICE

       I hereby certify that on the 1st day of November 2019, I electronically filed the foregoing
with the Clerk of Court by using the CM/ECF system. Notice of this filing will be sent to all
counsel of record by operation of the Court’s electronic filing system.


                                   /s/Marcelle P. Mouledoux




                                              -6-
